      Case 3:20-cr-00382-K  Document
                       IN TIIE UNITED44 Filed 10/19/21
                                      STATES  DISTRICT Page 1 of 1 PageID 108
                                                               Jdi103I:)
                       FOR TIIE NORTHERN DISTRICT OF
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                                 $
                                                         s
VS'                                                      $
                                                         $
EHIGIE HENSHAW ISIBOR                                    s

                                     REPORT AND RECOMMENDATION
                                      CONCERNING PLEA OF GUILTY

        EIIIGIE IIENSHAW ISIBOR, by consent,        under authority of United States v. Dees, 125 F.3d26l
(5th Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to
Counts 6 and tl of the l3-Count Indictment, filed on August 19,2020. After cautioning and examining
Defendant Ehigie Henshaw Isibor, under oath concerning each of the subjects mentioned in Rule ll, I
determined that the guilty plea was knowledgeable and voluntary and that the offense charged is supported
by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that Defendant Ehigie Henshaw Isibor, be adjudged
guilty of (Count 6) - Use of a False Passport, in violation of 18 USC $ 1543, and (Count ll)                           -
Conspiracy to Commit Money Laundering, in violation of lE USC $ 1956(a)(lXBXi), 1956(h) and
1957, and have sentence imposed accordingly. After being found guilty of the offense by the district judge.

        The defendant is cunently in custody and should be ordered to remain in custody.

        The defendant must be ordered detained pursuant to l8 U.S.C. $ 3la3(a)(l) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        tr      The Government does not oppose release.
        tr      The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to
                any other person or the community if released and should therefore be released under $ 3142(b) or
                (c).

        D       The Government opposes release.
        o       The defendant has not been compliant with the conditions of release.
        tr      If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

        The defendant must be ordered detained pursuant to l8 U.S.C. $ 31a3(aX2) unless (l)(a) the Court finds there

        recommended that no sentence   of imprisonment be i                    exceptional circumstances are clearly
        shown under $ 3la5(c) why the defendant should not                     and (2) the Court finds by clear and
        convincing evidence that the defendant is not likely                    a danger to any other person or the
        community if released.

        Signed October 19, 2021.

                                                                       ATES MAGISTRATE JUDGE

                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. $636(bXlXB).
